       Case 1:25-cv-00400-AHA           Document 71       Filed 03/27/25     Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                        Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                        Civil Action No. 25-cv-402 (AHA)
            v.

  DONALD J. TRUMP, et al.,

                   Defendants.


  DEFENDANTS’ STATUS REPORT UNDER MINUTE ORDER OF MARCH 24, 2025

       1.        Defendants hereby respond to the inquiries in the Court’s Minute Order of March

17, 2025, as made applicable through the Minute Order of March 24, 2025, and provide updates

regarding their processing of payments to foreign assistance funding recipients for work completed

prior to February 13, 2025.

       2.        As of yesterday, the total number of such payments by Defendants to Plaintiffs

processed since March 18, 2025 was 161, and the total number of such payments by Defendants

to non-Plaintiffs processed since March 18, 2025 was 5,690. In sum, Defendants have therefore

processed 5,851 payments between March 18 and March 26, which amounts to approximately 975




                                                1
       Case 1:25-cv-00400-AHA           Document 71        Filed 03/27/25     Page 2 of 3




payments per business day, well above this Court’s metric.

       3.      The total number of such payments which remain to be processed for Plaintiffs is

314, and the total number of such payments which remain to be processed for non-Plaintiffs is

5,750. There are therefore over 6,000 payments remaining to be processed.

       4.      Defendants’ intention has been to prioritize payments to Plaintiffs. The remaining

payments to Plaintiffs have presented particular challenges precluding faster processing: More

time has been necessary to process the remaining payments to Plaintiffs than Defendants estimated

in the March 19, 2025 status report because agency personnel are working with funding recipients

to address transaction-specific details (such as duplicate invoice submissions, billing errors, and

the need to confirm that goods or services were delivered or rendered).

       5.      Accordingly, Defendants’ proposed timeline for processing the remaining

payments is as follows: Defendants expect to process the remaining payments to Plaintiffs by April

10, 2025, and the remaining payments by the last week of April 2025.

       6.      Defendants note that the associational Plaintiffs have not provided Defendants with

a complete list of all of their members, which makes it impossible to provide precise figures about

the breakdown between Plaintiff and non-Plaintiff amounts due. Further, some pending requests

for payment do not distinguish between work performed before February 13, 2025, and work that

was performed thereafter (such as in connection with close-out). That also makes it impossible to

provide precise figures aligned with the Court’s inquiries. Additionally, Defendants note that they

continue to receive new requests for payment, and that some funding recipients have not provided

complete documentation concerning their work completed prior to February 13, 2025, which is

among the reasons why faster processing is not feasible.




                                                2
     Case 1:25-cv-00400-AHA   Document 71        Filed 03/27/25   Page 3 of 3




                              *     *        *

Dated: March 27, 2025                   Respectfully submitted,
                                        YAAKOV M. ROTH
                                        Acting Assistant Attorney General
                                        Civil Division

                                        ERIC J. HAMILTON
                                        Deputy Assistant Attorney General

                                        ALEXANDER K. HAAS
                                        Director

                                        LAUREN A. WETZLER
                                        Deputy Director

                                        CHRISTOPHER R. HALL
                                        Assistant Branch Director

                                        /s/ Indraneel Sur
                                        INDRANEEL SUR (D.C. Bar 978017)
                                        Senior Counsel
                                        United States Department of Justice
                                        Civil Division, Federal Programs Branch
                                        1100 L St. NW
                                        Washington, DC 20005
                                        Phone: (202) 616-8488
                                        Email: indraneel.sur@usdoj.gov

                                        Counsel for Defendants




                                    3
